Case 3:22-cv-00421-CWD Document1 Filed 10/06/22 Page 1 of 6

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the

District of Idaho

Nathan David Wilson, Seamus James Wilson, Rory
Douglas Wilson

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Moscow Palnce er tmen b
The City of Moscow, Idaho; Latah County, Idaho; and
Mia Bautista; Liz Warner; Bill Thompson; Keith Scholl;
Jay Waters; Shaine Gunderson; and Mitch Nunes, all
individually and in their official capacity,
Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.) ,

Nee Ne Ne ee ee ee Ne Ne Ne Nene ee ee ee ee eee”

Division

Case No. Cy 2 2 - A 2 { C

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(to be filled in by the Clerk’s Office)

Jury Trial: (check one) [V] Yes [No

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

 

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s

NOTICE

birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

forma pauperis.

 

 

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)
I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed,

Name Nathan Wilson, Seamus Wilson, Rory Wilson

Address 1030 Green Sea Ln

Moscow ID 83843
City State Zip Code

County Latah County

Telephone Number 208 596 5914

E-Mail Address nathandavidwilson@gmail.com, rorydouglaswilson@gmail.com
The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

 

Name City of Moscow
Job or Title (if known)
Address 206 E 3rd Street
Moscow ID 83843
City State Zip Code
County Latah County
Telephone Number 208 883 7000
E-Mail Address (if known)

Defendant No. 2

 

[| Individual capacity [| Official capacity

 

 

 

 

 

 

Name Latah County
Job or Title (f known)
Address 522 S Adams
Moscow ID 83843
City State Zip Code
County Latah County
Telephone Number 208 883 2246
E-Mail Address (if known)

 

[] Individual capacity [ | Official capacity

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Defendant No. 3
Name
Job or Title Gf known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

i. Basis for Jurisdiction

Mia Bautista; Liz Warner; Officers Waters; Gunderson; and Nunes
City Attorney (Bautista and Warner); Police officers (others)
206 E 3rd Street

 

 

 

 

 

Moscow ID 83843
City State Zip Code

Latah County

208 883 7054

 

 

xX | Individual capacity xT] Official capacity

Bill Thompson; Keith Scholl
Prosecuting Attorney
206 E 3rd Street

 

 

 

 

 

Moscow ID 83843
City State Zip Code

Latah County

208 883 7000

 

 

xT | Individual capacity x [| Official capacity

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A, Are you bringing suit against (check all that apply):

[ | Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
Plaintiffs sue under the First Amendment (free speech and free exercise); Fourth Amendment (unlawful
search and seizure); Fifth Amendment (due process and Miranda); Sixth Amendment (Miranda and jury
trial); and Fourteenth Amendment (section 1). Plaintiffs also seek relief under state law under the Idaho
Tort Claims Act for the tort of malicious prosecution.

 

Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?

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Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

1) The City of Moscow adopted, and her agents prejudicially enforced, a vague ordinance in violation of
the 1st Amendment of the US Constitution

2) The City of Moscow, via policy-making officials Mia Bautista and Liz Warner, and Latah County, via
policy-making officials Bill Thompson and Keith Scholl, prosecuted the Plaintiffs for exercising their First
Amendment rights. (cont. attached)

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?
Downtown Moscow, ID.

 

What date and approximate time did the events giving rise to your claim(s) occur?
Approximately 3:00am on October 6, 2020.

 

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

On September 23, 2020, Rory and Seamus Wilson took part in an outdoor psalm sing organized by
their grandfather, Douglas Wilson (pastor of Christ Church). The psalm sing was in protest of the city's
regular extensions of COVID lockdown orders without heeding public input. The psalm sing protest took
place in the parking lot of Moscow City Hall. Despite the fact the the city's emergency order exempted
religious activities, officers arrived and began making arrests. Charges were filed against the arrested
participants, but were later dropped. The city had established a slogan to justify their crackdowns and
had posted that slogan on signs around town. That slogan was: ENFORCED BECAUSE WE CARE.

Before all charges against the psalm-sing participants had been dropped, Nathan Wilson helped create
3" satirical, non-damaging, stickers to protest draconian enforcement and the arrests made at the psalm
sing. Some of those stickers read, SOVIET MOSCOW with a hammer and sickle. The majority bore the
hammer and sickle and read, SOVIET MOSCOW: ENFORCED BECAUSE WE CARE. (cont. attached)

 

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

 

Vv. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

We request that the court issue injunctions to deter the City of Moscow, Latah County, and all their agents from
violating the constitutional rights of Plaintiffs, especially when that violation is based on prejudice against political
or religious affiliations and an injunction against the enforcement of Moscow Code, Title 10, section 1-22, as
unconstitutionally vague and violative of the first amendment. We further request that the Court order the City of
Moscow to conduct external! constitutional training for all their officers.

We further request an award of actual and punitive damages against the City in relation to the following injuries.

Nathan Wilson is an author and producer in two industries dependent on reputation. In Hollywood, moral
turpitude clauses in contracts meant that he would expose his intellectual property to seizure while his
prosecution continued. Wilson dealt with twenty months of reputational damage caused by his selective
prosecution for nothing more than producing non-damaging, satirical stickers critical of the city and being aware
that his sons’ would post them at some point. On the heels of four seasons of a hit show, in a time when every
studio and streamer was ordering more content than ever, Wilson was unable to put a new show into production
with any mainstream outlet for the duration of his prosecution. When Wilson was defamed in an article published
by The Guardian in the UK, he sought redress through the British legal system. Lawyers for The Guardian
argued that Nathan Wilson's reputation had already been so irreparably harmed by the fact of his current criminal
prosecution in his own home town that defamation and libel could do no further damage. (cont. attached)

 

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VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case~related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 10/06/2022

 

Printed Name of Plaintiff Nathan Wilson, Rory Wilson, Seamus Wilson

 

Signature of Plaintiff Ren LS f KJ a) —
a 1 Le “
J

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code
Telephone Number
E-mail Address

 

 

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